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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

UNITED STATES OF AMERICA                           )
                                                   )
       v.                                          )       CRIMINAL NO. 1:18-CR-407
                                                   )
ALEKSANDR BROVKO,                                  )
                                                   )
                                                   )
                     Defendant.                    )


                                           ORDER

       Upon Defendant’s Consent Motion To Continue Sentencing Hearing, it is hereby

ORDERED that:

       Defendant’s motion is GRANTED; and

       The sentencing hearing in this case shall be continued to October ___, 2020, at _______.




                                                   ____________________________
                                                   T.S. Ellis, III
                                                   United States District Judge


Date: October __, 2020
